Case 2:05-cr-20285-BBD Document 4 Filed 07/26/05 Page 1 of 3 Page|D 5

F _
lN THE UN|TED STATES D|STR|CT COURT l ;;:! b ny
FOR THE WESTERN D|STR|CT OF TENNESSEE

 

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uNlTED sTATEs oF AMERch, ) W- v OFT~. mm
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Plaimiff, )
) cr. No. 5 ~ QZUZJ’$/
VS. )
)
MAvaN wlLsoN, )
)
Defendant. )
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Upon motion of the United States, the indictment and arrest warrant against the
above-named Defendant are hereby ordered sealed, until the initial appearance of the

defendants, in the instant case.

>L 14
day of Ju|y, 2005.

U.S. MAGESTRATE JUDGE

|T |S SO ORDERED this£d

 

sepn C'. Murphy, JrWJSA

Thls document entered on the docket sheet in compliance
with ama 55 ami/or 32;&3) rech on §?)ZJQ§ §[

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.D.C.

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uNlTED s'rATEs oF AMERch, ) l § MTCOUHT
Plaintiff, l cR. No. 05-20285-0 `C`* "`”""""“}‘PH*S
VS. §
MAvaN wlLsoN, §
Defendant. g

MOT|ON TO UNSEAL lNDlCTMENT

 

The United States of America hereby requests that the Court unseal the Indictment
in this matter. At the Government’s request, the Court sealed this document to permit the
Government to execute the arrest warrant on the defendant. The arrest warrant has been
executed, and there is no longer any need to seal the lndictment.

DATED: August 22, 2005. Respectfully submitted,

 

 

Assistant U.S. Attorney

MOTION G§ZANT§_D

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BERN¥CE BOU|E DONALD
U.S. D|STRIGT JUDGE

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UNITED STAer DISTRICT COUR - WETERN DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20285 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

